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                             UNITED ST ATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

EMIGRANT BANK FINE ART                        )
FINANCE, LLC, a Delaware limited              )
liability company,                            )
                                              )
                        Plaintiff,            )       Case No. 1: l 8-cv-383
                                              )
       V.                                     )       Judge Matthew F. Kennelly
                                              )
RIVER NORTH COLLECTIONS, LLC,                 )
an Illinois limited liability company, and    )
ROGER L. WESTON, a natural person.            )
                                              )
                        Defendants.           )

                    DEFENDANTS' RULE 12(b)(7) MOTION TO DISMISS

       Defendants River North Collections, LLC ("River North") and Roger L. Weston

("Weston") (together, "Defendants"), by their undersigned attorneys, hereby respectfully move

this Court, pursuant to Rule 12(b)(7) of the Federal Rules of Civil Procedure to enter an order: (a)

directing that non-party Emigranta Corp. be made a party-plaintiff to this action; or (b) in the

alternative, if Emigranta Corp. cannot feasibly be made a party-plaintiff, then dismissing the

Complaint filed by the Plaintiff Emigrant Bank Fine Art Finance, LLC in this action. The grounds

for this Motion are set forth in Defendants' accompanying Memorandum in Support of Rule

l 2(b )(7) Motion to Dismiss filed contemporaneously herewith and incorporated herein by

reference.

       WHEREFORE, Defendants respectfully request that this Motion be granted and that this

Court enter an Order:

       A.      Directing that non-party Emigranta Corp. be made a party-plaintiff to this action;

               or
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         B.   In the alternative to (A), if Emigranta Corp. cannot feasibly be made a party

              plaintiff, then dismissing the Complaint; and

         C.   Granting Defendants such other and further relief as is appropriate.



                                            Respectfully submitted,

                                            RIVER NORTH COLLECTIONS, LLC and
                                            ROGER L. WESTON

                                            By: Isl Courtney D. Tedrowe
                                                          One of Their Attorneys



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                                 CERTIFICATE OF SERVICE

       Courtney C. Tedrowe, an attorney, hereby certifies that, on February 26, 2018, he caused

a true and correct copy of the foregoing DEFENDANTS' l 2(b)(7) MOTION TO DISMISS to be

filed electronically with the Court's CMIECF system, and that notice of this filing was sent by

electronic mail to all parties by operation of the Court's electronic filing system.



                                                Isl    Courtney D. Tedrowe
